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 5   Telephone: (559) 497-4000
 6
 7                IN THE UNITED STATES DISTRICT COURT FOR THE
 8                        EASTERN DISTRICT OF CALIFORNIA
 9
10   UNITED STATES OF AMERICA,          ) CASE NO. 1:06-CR-00365 LJO
                                        )
11                                      )
                       Plaintiff,       ) STIPULATION TO CONTINUE
12                                      ) SENTENCING AND ORDER
                  v.                    )
13                                      )
     ARMANDO FATHIC ABDALLAH,           )
14                                      )
                       Defendant.       )
15                                      )
                                        )
16
17
18          The parties herein, through their respective counsel, hereby
19   agree and stipulate to continue the sentencing hearing for
20   Defendant, ARMANDO FATHIC ABDALLAH, from September 24, 2010, to
21   March 11, 2011, at 8:30 a.m.
22   ////
23   ////
24   ////
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26   ////
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 1          Said continuance is necessary in order that the trial in this
 2   matter currently set for February 7, 2011, be concluded before
 3   sentencing, since Defendant will be testifying at the trial.
 4   Dated: September 23, 2010                BENJAMIN B. WAGNER
                                              United States Attorney
 5
 6                                    By : /s/ Mark E. Cullers
                                           MARK E. CULLERS
 7                                         Assistant U.S. Attorney
 8   Dated: September 23, 2010
 9                                    By : /s/ Jeffrey Hammerschmidt
                                           JEFFREY HAMMERSCHMIDT
10                                         Attorney for Defendant
                                           ARMANDO FATHIC ABDALLAH
11
12                                      ORDER
13          GOOD CAUSE APPEARING it is hereby ordered that the sentencing
14   hearing for Defendant ARMANDO FATHIC ABDALLAH, currently scheduled
15   for September 24, 2010, is continued to March 11, 2011, at 8:30
16   a.m.
17   DATED: September 23, 2010.
18
19                                     /s/ Lawrence J. O’Neill
                                      LAWRENCE J. O’NEILL
20                                    U.S. DISTRICT COURT JUDGE
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